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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 LEXINGTON DIVISION
                             CIVIL ACTION NO. ____________

In re: 355 Main Street, Frenchburg, KY 40322

UNITED STATES OF AMERICA                                                         PLAINTIFF

VS.

HENRY AGEE

Serve via certified mail:            355 Main St.
                                     Frenchburg, KY 40322

AND

JENNIFER AGEE                                                                 DEFENDANTS
Serve via certified mail:            355 Main St.
                                     Frenchburg, KY 40322

                                        COMPLAINT

                                           ********

   Comes now the Plaintiff, the United States of America, by and through counsel, and for its

Complaint and cause of action against the Defendants states as follows:

   1. This real estate mortgage foreclosure action is brought by the United States of America,

       on behalf of its Department of Agriculture, Rural Development (hereinafter “RD”),

       pursuant to Title 28, United States Code, Section 1345.

   2. On or about September 18, 2007, Henry Agee and Jennifer Agee, for value received,

       executed and delivered to RD a promissory mortgage note (hereinafter “Note”) in the

       principal amount of $74,000.00, bearing interest at the rate of 6.1250 percent per annum,

       the Note calling for monthly payments of principal and interest. A copy of this Note is




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   attached hereto marked Exhibit A, and hereby incorporated by reference as if set forth at

   length herein.

3. Contemporaneously with the execution of the Note, Henry Agee and Jennifer Agee,

   executed, acknowledged, and delivered to RD a real estate mortgage (hereinafter

   “Mortgage”), which was recorded on September 19, 2007, in Mortgage Book 60, Page

   303, in the Commonwealth of Kentucky, Menifee County Clerk’s Office. In and by this

   Mortgage, said borrowers granted to RD a first mortgage lien against the real property

   described in the Mortgage located in Menifee County, Kentucky (hereinafter “Property”).

   A copy of this Mortgage is attached hereto marked Exhibit B, and is hereby incorporated

   by reference as if set forth at length herein.

4. Contemporaneously with the execution of the Note and Mortgage, Henry Agee and

   Jennifer Agee executed, acknowledged, and delivered to RD a Subsidy Repayment

   Agreement (hereinafter “Subsidy Agreement”). A copy of this Subsidy Agreement is

   attached hereto marked Exhibit C, and hereby incorporated by reference as if set forth at

   length herein.

5. By virtue of all of the foregoing, the real property which is the subject of this mortgage

   foreclosure action consists of a tract of land located in Menifee County, Kentucky, and

   more particularly described as follows:

           Commencing at a point 50 feet east of the Rodney Wells property line,
           being a corner of the Roy Henry lot and the south right of way line of U.S.
           460 Highway; thence east with said right of way line a distance of 55 feet;
           thence south course a straight line, a distance of 195 feet to a center of
           Beaver Creek; thence up the creek, west course, a distance of 55 feet to a
           corner of Henry lot; thence a north course with line of Henry lot, a
           distance of 195 feet to the beginning point at right of way line, being a lot
           55’ x 195’.




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          BEING THE SAME REAL PROPERTY conveyed to Henry Agree and
          wife, Jennifer Agree by Deed from Christopher Egelston and wife, Erika
          Egelston, dated September 18, 2007, of record in Deed Book 100, Page
          737,Menifee County Clerk’s Office.

6. The Defendants, and/or said borrowers, have failed and continue to fail to make

   payments of principal and interest due in accordance with the terms and conditions of the

   said Note and Mortgage and are, therefore, in default.

7. Paragraph (22) of the Mortgage provides that if default occurs in the performance or

   discharge of any obligation of the Mortgage, then RD shall have the right to accelerate

   and declare the entire amount of all unpaid principal together with all accrued and

   accruing interest to be immediately due and payable and to bring an action to enforce the

   Mortgage, including the foreclosure of the lien thereof. Because of the Default of the

   Defendants, and/or said borrower, as set forth above, RD caused a Notice of Acceleration

   of Indebtedness and Demand for Payment to be issued to said Defendants declaring the

   entire indebtedness due upon the said Note and Mortgage to be immediately due and

   payable, which demand has been refused.’

8. Paragraph (1) of the Subsidy provides that subsidy received in accordance with a loan

   under section 502 of the Housing Act of 1949 is repayable to the Government upon the

   disposition or nonoccupancy of the security property.

9. The unpaid principal balance on the Mortgage and Note is $63,636.15, with accrued

   interest of $5,488.85 through March 16, 2015, with the total subsidy granted of

   $10,423.57, with escrow due in the amount of $43.50, late charges in the amount of

   $57.84, and with fees assessed of $1,796.55, for a total unpaid balance due of $81,446.46.

   Interest is accruing on the unpaid principal balance at the rate of $10.9728 per day after

   March 16, 2015. An Affidavit of Proof Statement of Account signed by RD Foreclosure

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   Representative, Vickie Jones, is attached hereto marked Exhibit D, and is incorporated

   herein as if set forth verbatim.

10. Included within the balance set out in paragraph 9 above, the portion of the debt

   attributable to the Mortgage secured by the real estate collateral is the principal sum of

   $63,636.15, with interest accrued thereon of $5,488.85 through March 16, 2015. Interest

   is accruing on the unpaid balance at the rate of $10.9728 per day after March 16, 2015.

11. The Property is indivisible and cannot be divided without materially impairing its value

   and the value of RD’s lien thereon.

12. The lien on the Property in favor of RD by virtue of the Mortgage is first, prior and

   superior to all other claims, interests and liens in and to the Property except for liens

   securing the payment of ad valorem property taxes.

13. There are no other individuals or entities purporting to have an interest in the Property

   known to RD.

WHEREFORE, the Plaintiff, the RD, prays for relief as follows:

       a.     That the RD be awarded a judgment, as the total amount owing is $81,446.46,

              as of March 16, 2015. Interest is accruing on the unpaid principal balance at

              the rate of $10.9728 per day after March 16, 2015, until entry of judgment

              herein, and thereafter according to law, plus costs, disbursement and expenses.

       b.     That RD be adjudged a lien on the subject Property, prior and superior to any

              and all other liens, claims, interests, and demands, except liens for unpaid real

              estate ad valorem taxes and except as set forth above; and for an Order of Sale

              of the Property in accordance with Title 28, United States Code, Sections

              2001- 2003, inclusive; that the Property be sold free and clear of any and all



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            liens and claims for any and all parties to this action, except for real estate

            restrictions and easements of record, and any city, county, state, or school ad

            valorem taxes which may be due and payable thereon at the time of sale; and

            free and clear of any rider equity of redemption; and that the proceeds from

            the sale be applied first to the costs of this action, second to the debt, interest,

            costs, and fees due the Plaintiff, with the balance remaining to be distributed

            to the parties as their liens and interests may appear.

      c.    That the Property be adjudged indivisible and be sold as a whole.

      d.    That all Defendants be required to Answer and set up their respective liens,

            claims, or interests in the Property, if any, or be forever barred.

      e.    For any and all other lawful relief to which the Plaintiff may appear properly

            entitled.

                                                Respectfully submitted,



                                                By:_/s/ Melissa R. Dixon          ___
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